                                  In the
                             Court of Appeals
                     Second Appellate District of Texas
                              at Fort Worth
                                 No. 02-24-00024-CV

ROBERT LANE, Appellant                      §   On Appeal from the 442nd District Court

                                            §   of Denton County (22-8611-442)
V.
                                            §   August 22, 2024

ODLE, INC., Appellee                        §   Memorandum Opinion by Justice Womack

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the judgment of the trial

court is affirmed.

      It is further ordered that appellant Robert Lane shall bear the costs of this

appeal, for which let execution issue.

                                         SECOND DISTRICT COURT OF APPEALS


                                         By /s/ Dana Womack
                                            Justice Dana Womack
